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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                           )
AGUDAS CHAS.IDE! CHABAD                    )
OF UNITED STATES,                          )
                                           )
                     Plaintiff,            )
                                           )
              v.                           )      Case No. 1:05-cv-01548-RCL
                                           )
RUSSIAN FEDERATION; RUSSIAN                )
MINISTRY OF CULTURE AND MASS               )
COMMUNICATION; RUSSIAN STATE               )
LIBRARY; and RUSSIAN STATE                 )
MILITARY ARCHIVE,                          )
                                           )
                     Defendants.           )



                    LPlffirOSE�VISED INTERIM JUDGMENT
       Having considered the Plaintiffs January 12, 2023, Motion for Revised

Interim Judgment of Accrued Sanctions, and the proceedings thereon, the Court hereby:

      ORDERS that Plaintiffs motion be, and it hereby is, GRANTED;

      ORDERS that Plaintiffs pending May 6, 2022 Motion for Revised Interim Judgment of

Accrued Sanctions (ECF No. 239) be, and it hereby is, DENIED AS MOOT;

      ORDERS AND ADJUDGES that Plaintiff recover from Defendants, jointly and

severally, $178,800,000.00;

       ORDERS AND ADJUDGES that, until Defendants comply with this Court's July 30,

2010 Order (ECF No. 80), monetary sanctions will continue to accrue pursuant to this Court's

January 16, 2013 Order (ECF No. 115), which remains in full force and effect.
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SO ORDERED this /�day of January, 2023.




The Honorable Royce C. Lamberth
United States District Judge




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